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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BARBARA BRANT, et al.,                        )
                                              )
       Plaintiffs,                            )
                                              )
v.                                            )         Case No. 4:18CV1030 HEA
                                              )
MONSANTO COMPANY,                             )
                                              )
                                              )
       Defendant,                             )


                                              ORDER

       IT IS HEREBY ORDERED that the scheduling conference pursuant to Fed.R.Civ.P. 16

is vacated. The Case Management Order will be issued based on the dates provided by the parties

in their Joint Proposed Scheduling Plan.

       Dated this 8th day of October, 2020.




                                                      HENRY EDWARD AUTREY
                                                    UNITED STATES DISTRICT JUDGE




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